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          Exhibit G
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From:                     l(b)(6);(b)(7)(C)
Sent:                      2 Jan 2018 10:33:01 -0500
To:                        l(b)(6);(b)(7)(C)
Subject:




      •     The Visa Security Coordination Center (VSCC) participates in the "DHS Social Media
           Working Group'', which is an inter-agency initiative aimed at the coordination of DHS
           social media screening efforts pertaining to three (3) shared areas of interest: Shared
           Metrics, Best Practices and Common Talking Points. This working group meets once per
           month and is led by the DHS Office of Policy. Participants include Customs and Border
           Protection (CBP), Immigration and Customs Enforcement (ICE), Transpo1tation Security
           Administration (TSA), U.S. Citizenship and Immigration Services (USCIS), and the
           Office of Science and Technology (S&T).

           Background: DHS has been at the forefront among Federal agencies in developing the
           capability to incorporate social media data in its screening and vetting processes. CBP,
           ICE, TSA and USCIS have been developing, testing, and operationalizing the use of
           social media in various pilots and programs. The Office of Science and Technology
           (S&T) has been developing tools and processes towards realizing DHS's long term
           objective of deploying screening capabilities related to social media. Through this work,
           DHS has advanced its understanding of the challenges in screening non-government
           maintained databases, including the dynamic nature and magnitude of social media
           information.

      •     The Visa Security Coordination Center (VSCC) participates in the Visa Lifecycle
           Vetting Initiative" which is an HSI/NSID led effort. This working group meets once per
           week. NSID, with other DHS stakeholders, performs the majority of visa vetting
           activities within DHS. In an effort to transform its current vetting programs, NSID has
           initiated the process to obtain contractor services to establish an overarching vetting
           contract that will assist with streamlining and centralizing the current manual vetting
           process.

           Background: U.S. Immigration and Customs Enforcement (ICE), Homeland Security
           Investigations (HSI), National Security Investigations Division's (NSID) is responsible
           for two facets of screening and vetting for nonimmigrants. The Visa Security Program
           (VSP) operations are supported through the Pre-Adjudication Threat Recognition
           Intelligence Operations Team (PATRIOT) for the screening and vetting of visa
           applicants. The Counterterrorism and Criminal Exploitation Unit (CTCEU) combats
           national security vulnerabilities and prevents terrorists and other criminals from
           exploiting the nation's immigration system.




l(b )(6); (b )(7)(C)   IProgram Manager/Special Agent


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Homeland Security Investigations
Visa Security Coordination Center
National Security Investigations Division
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(b)(6); (b)(?)(C)



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